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                          Supreme Court of the United States
                                 Office of the Clerk
                             Washington, DC 20543-0001
                                                                             Scott S. Harris
                                                                             Clerk of the Court
                                                                             (202) 479-3011
                                             July 30, 2024


        Clerk
        United States Court of Appeals for the Fourth
        Circuit
        1100 East Main Street
        Room 501
        Richmond, VA 23219


              Re: Dale Folwell, State Treasurer of North Carolina, et al.
                  v. Maxwell Kadel, et al.
                  No. 24-99
                  (Your No. 22-1721)


        Dear Clerk:

              The petition for a writ of certiorari in the above entitled case was filed on July
        26, 2024 and placed on the docket July 30, 2024 as No. 24-99.




                                                Sincerely,

                                                Scott S. Harris, Clerk

                                                by

                                                Angela Jimenez
                                                Case Analyst
